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                                                                            by Clerk
                                                                    U.S. Bankruptcy Court
                                                                     District of New Jersey




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